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 3 (916) 443-7141

 4 Attorney for Defendant
   Irina Markevich
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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. 11-cr-0490-JAM
12                                Plaintiff,               STIPULATION AND [PROPOSED]
                                                           ORDER CONTINUING JUDGMENT
13   v.                                                    AND SENTENCING HEARING TO
                                                           OCTOBER 20, 2015
14   IRINA MARKEVICH, ANATOLIY
     MARKEVICH, DANIIL MARKEVICH,
15   SVETLANA MARKEVICH, and MARINA
     PUKHKAN,
16                       Defendants,
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18                                             STIPULATION
19          Defendants Irina Markevich, Anatoliy Markevich, Daniil Markevich, Svetlana Markevich,
20
     and Marina Pukhkan, through their respective counsel of record, and Plaintiff United States of
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     America, by and through its counsel of record, hereby stipulate as follows:
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            1.      By previous order, the judgment and sentencing hearing was set for August 11, 2015.
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24          2.      By this stipulation, defendants now request to continue the judgment and sentencing

25 hearing to October 20, 2015 at 9:15 a.m. Plaintiff United States of America stipulates to the

26 requested continuance.

27          3.      The court has previously continued the judgment and sentencing hearing for Alex
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                                                       1
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     Markevich to October 20, 2015.
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            4.     The date of October 20, 2015 is requested due to the involvement of Mr. Warriner,
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 3 Ms. Santos, and Mr. Reichel in trials, and the need for additional time to prepare for the sentencing

 4 proceedings.

 5 IT IS SO STIPULATED.

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 7
     DATED:        July 3, 2015
 8
                                          /s/ Christopher Hales___________________
 9                                        Assistant United States Attorney

10 DATED:          July 3, 2015

11
                                          /s/ Timothy E. Warriner
12                                        Counsel for Defendant
                                          Irina Markevich
13
     DATED:        July 3, 2015
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15                                        /s/ Jason Lawley
                                          Counsel for Defendant
16                                        Anatoliy Markevich

17 DATED:          July 3, 2015

18
                                          /s/ Mark Reichel
19                                        Counsel for Defendant
                                          Daniil Markevich
20
     DATED:        July 3, 2015
21

22                                        /s/ Julia Mary Young
                                          Counsel for Defendant
23                                        Svetlana Markevich

24 DATED:          June 20, 2015

25
                                          /s/ Dina Santos
26                                        Counsel for Defendant
                                          Marina Pukhkan
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                                                      2
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 1                                      ORDER
 2
           GOOD CAUSE APPEARING, IT IS SO FOUND AND ORDERED this 6th day of July,
 3 2015.

 4                                /s/ John A. Mendez________________________
                                  UNITED STATES DISTRICT COURT JUDGE
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